Case:19-16393-TBM Doc#:1 Filed:07/26/19 Entered:07/26/19 14:00:13 Page1 of 32

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:
DISTRICT OF COLORADO, DENVER DIVISION

Case number (if known) Chapter you are filing under:

 

a Chapter 7
0 Chapter 11
0 Chapter 12

O Chapter 13 OO Check if this an amended
filing

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

Write the name that is on Ross
your government-issued First name First name
picture identification (for

example, your driver's

license or passport). Middle name Middle name

 

 

 

Bring your picture Suchman

i ificati ing—
ice meet Last name and Suffix (Sr., Jr., Il, IN) Last name and Suffix (Sr., Jr., I, WD

 

 

2. All other names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-8089
Individual Taxpayer
Identification number
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
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Debtor1 Suchman, Ross G.

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

About Debtor 1:

Wl | have not used any business name or EINs.

Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):

0 | have not used any business name or EINs.

 

Business name(s)

 

 

EINs

Business name(s)

 

EINs

 

5. Where you live

6970 W Yale Ave
Denver, CO 80227-5736
Number, Street, City, State & ZIP Code

Jefferson
County

If your mailing address is different from the one

above, fill it in here. Note that the court will send any

notices to you at this mailing address.

If Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Code

 

County

If Debtor 2's mailing address is different from yours, fill itin
here. Note that the court will send any notices to this mailing
address.

 

 

Number, P.O. Box, Street, City, State & ZIP Code

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

Hoover the last 180 days before filing this petition, |
have lived in this district longer than in any other

district.

0 __st{have another reason.
Explain. (See 28 U.S.C. § 1408.)

Check one:

© Over the last 180 days before filing this petition, | have
lived in this district longer than in any other district.

0 __s|have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 2

 
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Debtor1 Suchman, Ross G. Case number (if known)
Gee te" the Court About Your Bankruptcy Case
7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form

Bankruptcy Code you are 2070)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under
a Chapter 7

O Chapter 11
O Chapter 12

O Chapter 13

 

8. Howyouwillpay thefee 1 | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money order.
If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
pre-printed address.

HSC! need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
Filing Fee in Installments (Official Form 103A).

O_ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

9. Have you filed for HNo
bankruptcy within the last ‘
8 years? O Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy cases gy yj,
pending or being filed by
a spouse whois not filing (1 Yes.
this case with you, or by
a business partner, or by
an affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your OO No. Go to line 12.
idence? .
ee Yes. Has your landlord obtained an eviction judgment against you?

uo No. Go to line 12.

oO Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
bankruptcy petition.

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3

 
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Debtor1 Suchman, Ross G.

Case number (if known)

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership,
or LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

No. Go to Part 4.

O Yes. Name and location of business

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
Health Care Business (as defined in 11 U.S.C. § 101(27A))

Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

ooaaqaag

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
deadlines. |f you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
U.S.C. 1116(1)(B).

HE No. | am not filing under Chapter 11.

ONo. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code.

0D Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

GEREEe Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own or have any
property that poses or is
alleged to pose a threat of
imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

Hino.

DO Yes.
What is the hazard?

 

 

If immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
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Debtor 1

Suchman, Ross G.

Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known)

 

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before you
file for bankruptcy. You
must truthfully check one of
the following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection
activities again.

About Debtor 1:

You must check one:

msi! received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment plan,
if any, that you developed with the agency.

(1 #sIreceived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

O_#séI certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you were

unable to obtain it before you filed for bankruptcy, and

what exigent circumstances required you to file this
case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you developed,
if any. If you do not do so, your case may be
dismissed.

Any extension of the 30-day deadline is granted only
for cause and is limited to a maximum of 15 days.

0 +1! am not required to receive a briefing about
credit counseling because of:

OO _siIncapacity.
| have a mental illness or a mental deficiency

that makes me incapable of realizing or making

rational decisions about finances.

O _sCODisability.

My physical disability causes me to be unable

to participate in a briefing in person, by phone,
or through the internet, even after | reasonably
tried to do so.

OU sActive duty.
| am currently on active military duty in a
military combat zone.

If you believe you are not required to receive a briefing

about credit counseling, you must file a motion for
waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

0 #sIreceived a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if any,
that you developed with the agency.

CO _sIreceived a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if any.

O_#sIcertify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made to
obtain the briefing, why you were unable to obtain it before
you filed for bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is dissatisfied with
your reasons for not receiving a briefing before you filed for
bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must file
a certificate from the approved agency, along with a copy of
the payment plan you developed, if any. If you do not do so,
your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

( +1|am not required to receive a briefing about credit
counseling because of:

O_sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_séDisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or through
the internet, even after | reasonably tried to do so.

O Active duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing about
credit counseling, you must file a motion for waiver of credit
counseling with the court.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 5

 
 

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Debtor Suchman, Ross G.

Case number (if known)

 

Penta Answer These Questions for Reporting Purposes

 

416. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

0 No. Go to line 16b.

Ml Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
for a business or investment or through the operation of the business or investment.

C1 No. Go to line 16c.

O Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 77

Do you estimate that after
any exempt property is
excluded and

CNo.  !amnot filing under Chapter 7, Go to line 18.

ves. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses HNo
are paid that funds will be
available for distribution OO Yes
to unsecured creditors?
18. How many Creditorsdo = 4.49 C1 1,000-5,000 0 26,001-50,000
you one that you C1 50-99 D 5001-10,000 2 50,001-100,000
CD 100-199 DF 10,001-25,000 O More than100,000
O 200-999
419. How much do you Ml so - $50,000 1 $1,000,001 - $10 million  $500,000,001 - $1 billion

estimate your assets to

be worth? DO $50,001 - $100,000

D) $100,001 - $500,000
C0 $500,001 - $1 million

0 $10,000,001 - $50 million
1 $50,000,001 - $100 million
D $100,000,001 - $500 million

CD $1,000,000,001 - $10 billion
0 $10,000,000,001 - $50 billion
0 More than $50 billion

 

20. How much do you

timat liabiliti D'so.. 950,000
estimate your labilities © $50,001 - $100,000

0 $100,001 - $500,000
0 $500,001 - $1 million

D $1,000,001 - $10 million

1 $10,000,001 - $50 million
D $50,000,001 - $100 million
DO $100,000,001 - $500 million

1 $500,000,001 - $1 billion

O $1,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
O More than $50 billion

 

Sign Below

For you | have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this document, |
have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

ag property, or obtaining money or property by fraud in connection with a bankruptcy
onment for up to 20 years, or both. 18 U.S.C. §§ 452, 1341, 1519, and 3571.

   

 

 

‘oss G.Suchman ~ Signature of Debtor 2
Signature of Debtor 1 A

Executedon July 17, 2019 Executed on

MM/DD/YYYY

 

MM/DD/YYYY

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 6
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Debtor 1

Suchman, Ross G.

Case number (if known)

 

For your attorney, if you are
represented by one

If you are not represented by
an attorney, you do not need
to file this page.

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed under
Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in

which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the schedules filed with the

petition is incorrect. 4

Dave M. beah

Signature of Attorney for Debtor

Date

David M. Serafin

Pnnted name

Law Office of David Serafin

Firm name

501 S Cherry St Ste 1100

Denver, CO 80246-1330
Number, Street, City, State & ZIP Code

Contact phone Email address

33686

Bar number & State

 

July 17, 2019
MM/DD/YYYY

david@davidserafinlaw.com

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 7

 
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Fill in this information to identify your case and this filing:

Debtor 1 Ross G. Suchman
First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number 0 Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

 

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Go Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Wl No. Go to Part 2.
OO Yes, Where is the property?

Go Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

ONo
Ml Yes
, Ford Do not deduct secured claims or exemptions. Put

3.1. Make: Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Mode; Fusion AWD WB pebtor 4 only Creditors Who Have Claims Secured by Property.
Year: 2013 00 C1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 90000 CO Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: CZ Atleast one of the debtors and another

 

O Check if this is community property $8,000.00 $8,000.00

(see instructions)

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

HNo
0 Yes

 

5 Add the dollar value of the portion you own for all of your'e entries from Part 2, including any entries for pages $8,000.00
you have attached for Part 2. Write that number here... epssnassncancrssnesnersnveaseesevuasuasessuapunaianiaeneces=>™ ’ :

 

 

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

Official Form 106A/B Schedule A/B: Property page 1
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Debtor 1 Suchman, Ross G. Case number (if known)

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

01 No
lB Yes. Describe.....

 

Furniture, bedroom, kitchen, books/pictures, TV, computer, cell
phone $3,000.00

 

 

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections, electronic devices
including cell phones, cameras, media players, games

HNo
1 Yes. Describe...

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
collections, memorabilia, collectibles

HNo
C) Yes. Describe...

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
instruments

BNo
0 Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

HNo
(Yes. Describe...

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

0 No
Ml Yes. Describe...

 

[ Clothing | $1,500.00

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

C1 No
Ml Yes. Describe...

 

[Watch | $300.00

13. Non-farm animals
Examples: Dogs, cats, birds, horses

Hino
O Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
HI No
O Yes. Give specific information.....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for $4,800.00
Part 3. Write that MUMber NETe .........cceseeseeeeeeeeeseenenentansnenennerseetensansnatennananennengns ’ :

 

 

 

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Official Form 106A/B Schedule A/B: Property page 2

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Debtor 1 Suchman, Ross G. Case number (if known)
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
Bo
DV eS oc sccccccccsscsessececsessessscevevssessssssssvasssssnsaseeessorsseaeeeserseesesneneeescenesnennerensaeeeenens

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

ONo

Wh eS oooocccccccceeeteees Institution name:

17.1. Checking Account Ascend Federal Credit Union $400.00

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

HNo
EP V 68s sctsces Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture
HNo

0 Yes, Give specific information about them...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Hi No

O Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

HNo

CO Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

BNo

2  (- Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

HNo
DD Yes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

HNo
DD YeS.ccccccccceee Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
~~
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
MNo
0 Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
| Examples: internet domain names, websites, proceeds from royalties and licensing agreements
HNo
O Yes. Give specific information about them...
Official Form 106A/B Schedule A/B: Property page 3

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Case:19-16393-TBM Doc#:1 Filed:07/26/19 Entered:07/26/19 14:00:13 Page11 of 32

Debtor 1 Suchman, Ross G. Case number (if known)

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No
0 Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
HNo
CO Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support. maintenance, divorce settlement, property settlement

HNo
O Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security benefits;
unpaid loans you made to someone else

HNo
0 Yes. Give specific information.

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

HNo

C Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
died.
BNo
O Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Hino
OJ Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
HNno
D Yes. Describe each claim.........

35. Any financial assets you did not already list
Hi No
O Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for 00.00
Part 4. Write that mumber Nere.........ccscsssescsscesesssnseesssnssstensesnsneeressssstansnansnnesssnsenesssessanessnannnnnanenecsecnesaeanens $400.0

mn

 

 

 

| Part §: (EEEEULG Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
a No. Go to Part 6.
O Yes. Goto line 38.

Official Form 106A/B Schedule A/B: Property page 4
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Debtor 1 Suchman, Ross G. Case number (if known)

 

Vaca Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Wl No. Go to Part 7.

1 Yes. Go to line 47

GEEXAEEEE Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

MNo

O Yes. Give specific information.........

 

 

 

 

 

 

 

 

 

 

54, Add the dollar value of all of your entries from Part 7. Write that MUMbEr NEFe ........ssseesssseseeseeresreesees $0.00
List the Totals of Each Part of this Form

55. Part 1: Total real estate, ime 2 ....csssesesccscsesssssesseeeseeesesssnsnsnsnnncnrnsesssesesnenseessassasnensnsnsaiansusiseseersncneseaesssnaneeannes $0.00

56. Part 2: Total vehicles, line 5 $8,000.00

57. Part 3: Total personal and household items, line 15 $4,800.00

58. Part 4: Total financial assets, line 36 $400.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $13,200.00 Copy personal property total $13,200.00
63. Total of all property on Schedule AJB. Add line 55 + line 62 $13,200.00
Official Form 106A/B Schedule A/B: Property page 5

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Fill in this information to identify your case:
Debtor 1 Ross G. Suchman
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) O Check if this is an

amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

Identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
Wf You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C1 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

' Copy the value from Check only one box for each exemption.

Schedule A/B

Furniture, bedroom, kitchen, $3,000.00 $3,000.00 Colo. Rev. Stat. §
books/pictures, TV, computer, cell — - 13-54-102(1)(e)
phone OC 100% of fair market value, up to
Line from Schedule A/B 6.1 any applicable statutory limit
Clothing 4,500.00 $1,500.00 Colo. Rev. Stat. §
Line from Schedule A/B. 11.1 1, = , 413-54-102(1)(a)

O 100% of fair market value, up to
any applicable statutory limit

 

Watch 0.00 300.00 Colo. Rev. Stat. §
Line from Schedule A/B. 12.1 $500, a $ 43-54-102(1)(b)
C1 100% of fair market value, up to
any applicable statutory limit

 

 

Ascend Federal Credit Union 400.00 300.00 Colo. Rev. Stat. §§
Line from Schedule A/B: 17.1 =e = $ 43-54-104(2)(A), 5-5-105,
O 100% of fair market value, upto  5-5-106
any applicable statutory limit

 

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

Mm No
O Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
Ol Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

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Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2
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Fill in this information to identify your case:

Debtor 1 Ross G. Suchman
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
{if known) OO Check if this is an

amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).

4. Do any creditors have claims secured by your property?
(No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

Yes. Fill in all of the information below.

(GETCEHM List All Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Py nee Cam’,
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor 's name. Do not deduct the that supports this portion
value of collateral. claim if any
24 Capital One Auto
. Finance Describe the property that secures the claim: $1 1,336.00 $8,000.00 $3,336.00
Cradiors Name 2013 Ford Fusion AWD
As of the date you file, the claim is: Check all that

PO Box 259407 soni .

Plano, TX 75025-9407 C1 Contingent

Number, Street, City, State & Zip Code D unliquidated

OO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
a Debtor 1 only Mian agreement you made (such as mortgage or secured
D1 Debtor 2 only car loan)
0 Debtor 1 and Debtor 2 only oO Statutory lien (such as tax lien, mechanic's lien)
OC Atleast one of the debtors and another oO Judgment lien from a lawsuit
O Check if this claim relates to a WH other (including 2 right to offset) Purchase Money Security
community debt

Date debt wasincurred 5/2016 Last 4 digits of account number 0617
Add the dollar value of your entries in Column A on this page. Write that number here: $11,336.00
If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: $11,336.00

 

 

 

[GEE List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

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Fill in this information to identify your case:

Debtor 1 Ross G. Suchman
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) 0 Check if this is an
amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).

List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

 

Wl No. Go to Part 2.
Oo Yes.

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

0 no. You have nothing to report in this part. Submit this form to the court with your other schedules.
BB ves.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part

 

 

 

 

 

2.
Total claim
[41 Accredited Management Solutions Last 4 digits of account number 9358 $2,036.49
Nonpriority Creditors Name
When was the debt incurred?
8625 Transit Rd
East Amherst, NY 14051-1099
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WB pebtor 1 only O Contingent
oO Debtor 2 only oO Unliquidated
0 Debtor 1 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is fora community C) student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bo 0D Debts to pension or profit-sharing plans, and other similar debts
O ves MH other. Specity Collection on behalf of Jared
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 7

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Debtor 1 Suchman, Ross G.

[42 | Credit First

 

 

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Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number 8894 $1,159.00
Nonpriority Creditor's Name
When was the debt incurred? 1/2008
PO Box 81083
Cleveland, OH 44181-0083
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wl Debtor 1 only O Contingent
D1 Debtor 2 only oO Unliquidated
0 pebtor 1 and Debtor 2 only O Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is fora community CI Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No 0 Debts to pension or profit-sharing plans, and other similar debts
oO Yes Hi Other. Specify Collection
| 43 Elizabeth Suchman Last 4 digits of account number NA $1,200.00
Nonpriority Creditor's Name
When was the debt incurred? 7/2019
1 Jennifer Dr
Fairview Heights, IL 62208-3875
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
IB Debtor 1 only O Contingent
D Debtor 2 only oO Unliquidated
C1 Debtor 1 and Debtor 2 only oO Disputed
CZ atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 check if this claim is fora community C0 Student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D Debts to pension or profit-sharing plans, and other similar debts
Personal loan for money advanced from
O ves Mi other Specify Debtor's mother for BK atty fees
44 EOS CCA Last 4 digits of accountnumber 6355 $155.00
Nonpriority Creditor’s Name
When was the debt incurred? 4/2018
700 Longwater Drive
Norwell, MA 02061
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH Debtor 1 only Oo Contingent
C1 Debtor 2 only DO unliquidated
D1 Debtor 1 and Debtor 2 only C1 Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a community C1 Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
|_| No O Debts to pension or profit-sharing plans, and other similar debts
O ves MM other. Specify Collection
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 7

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Debtor 1 Suchman, Ross G.

 

 

Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[as Illinois Dept. of Revenue Last 4 digits of account number NA $2,000.00
Nonpriority Creditor's Name
When was the debt incurred? 2011
PO Box 19007
Springfield, IL 62794-9007
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH pebtor 1 only OO Contingent
D1 Debtor 2 only O Unliquidated
CI Debtor 1 and Debtor 2 only DO pisputea
DC Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OD Check if this claim is for a community D student ioans
debt 0 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
O yes MM other. Specify 2011 State of IL income tax
[as Katherine R. O'Brien, Esq. Last 4 digits of accountnumber 0801 $12,706.58
Nonpriority Creditor's Name —=
On behalf of Jefferson Capital When was the debt incurred?
Systems,
PO Box 17210
Golden, CO 80402
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
H bebtor 1 only oO Contingent
D1 Debtor 2 only oO Unliquidated
OO Debtor 1 and Debtor 2 only Oo Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is fora community OO Student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno C1 Debts to pension or profit-sharing plans, and other similar debts
O ves WM other. Specify Lawsuit for car repo deficiency
| 4.7 LCA Collections Last 4 digits of account number 3227 $14.23
Nonpriority Creditors Name
When was the debt incurred?
PO Box 2240
Burlington, NC 27216
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH bebtor 1 only OD contingent
OD Debtor 2 only Oo Unliquidated
D1 Debtor 1 and Debtor 2 only oO Disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
O ves MH other. Specify Collection
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 7

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Debtor1 Suchman, Ross G.

 

 

Case number (f known)

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| 4.8 Metro Urgent Care Last 4 digits of accountnumber 2059 $121.67
Nonpriority Creditor's Name
When was the debt incurred?
3091 S Jamaica Ct Ste 200
Aurora, CO 80014-2639
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WB debtor 1 only O contingent
OD Debtor 2 only DO unliquidated
O Debtor 1 and Debtor 2 only Oo Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community C) Student loans
debt C obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No 0 Debts to pension or profit-sharing plans, and other similar debts
DO ves MI other. Specify Medical bill
49 National Credit Adjusters Last 4 digits of accountnumber 2814 $1,381.00
Nonpriority Creditor's Name
When was the debt incurred? 4/2013
327 4th Ave
Hutchinson, KS 67504
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB pebtor 1 only a Contingent
0 Debtor 2 only C2 unliquidated
O Debtor 1 and Debtor 2 only O disputed
UO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is for a community C1 student loans
debt 0 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno C1 Debts to pension or profit-sharing plans, and other similar debts
0 ves WH other. Specity Collection
4.10] Navient Last 4 digits of account number 6492 $25,985.00
Nonpriority Creditor's Name
When was the debt incurred? 10/2012
PO Box 9500
Wilkes Barre, PA 18773
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
i pebtor 1 only C1 Contingent
OO Debtor 2 only O Unliquidated
DO Debtor 1 and Debtor 2 only DO pisputed
d claim:
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim
O check if this claim is fora community Mi Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bino O pebts to pension or profit-sharing plans, and other similar debts
O Yes CD) other. Specify
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 7

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Debtor1 Suchman, Ross G.

[a1 Navy Federal Credit Union

 

 

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Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last4 digits ofaccountnumber 0001 $8,666.00
Nonpriority Creditor's Name
When was the debt incurred? 8/2011
PO Box 3700
Merrifield, VA 22119
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HM Debtor 1 only O contingent
O Debtor 2 only 0 unliquidated
CZ Debtor 1 and Debtor 2 only oO Disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is fora community C) Student loans
debt 0 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CO Debts to pension or profit-sharing plans, and other similar debts
O ves WH other. Specify Personal loan (two accounts)
4.12) Portfolio Recovery Assn. Last 4 digits of accountnumber 2593 $437.00
Nonpriority Creditor's Name
When was the debt incurred? 11/2014
120 Corporate Blvd
Norfolk, VA 23502-4952
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH bebtor 4 only oO Contingent
O debtor 2 only O Unliquidated
CO Debtor 1 and Debtor 2 only OO Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 Student loans
debt 0 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
I No O pebts to pension or profit-sharing plans, and other similar debts
CO) yes MM other. Specify Collection
4.13] Progressive Leasing Last 4 digits of account number 5629 $390.00
Nonpriority Creditor's Name
When was the debt incurred?
256 W Data Dr
Draper, UT 84020-2315
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH bebtor 1 only oO Contingent
CO Debtor 2 only OD unliquidated
01 Debtor 1 and Debtor 2 only Oo Disputed
D1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O1 check if this claim is fora community CI student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CO Debts to pension or profit-sharing plans, and other similar debts
O yes MH other. Specify Unsecured debt
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 7

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Debtor 1 Suchman, Ross G.

[4.14 Scott Credit Union

 

 

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Case number (f known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of accountnumber 0001 $16,246.00
Nonpriority Creditor's Name a
When was the debt incurred? 5/2011
101 Credit Union Way
Edwardsville, IL 62025-3504
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH Debtor 1 only 0) contingent
C1 Debtor 2 only 0 unliquidated
OC Debtor 1 and Debtor 2 only Oo Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community C0 Student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi no 0 Debts to pension or profit-sharing plans, and other similar debts.
OD ves MH other. Specify Car repo deficiency
U.S. Department of Veterans
4.15| Affairs Last 4 digits of account number NOWN $7,000.00
Nonpriority Creditors Name
Denver Regional When was the debt incurred?
155 Van Gordon St Ofc
Lakewood, CO 80228-1709
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WB debtor 4 only 0 Contingent
CO Debtor 2 only oO Unliquidated
O Debtor 1 and Debtor 2 only oO Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community C1) student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C Debts to pension or profit-sharing plans, and other similar debts
0 Yes WW other. Specify Overpayment of VA benefits
US Bank Last 4 digits of account number 3680 $698.00
Nonpriority Creditor’s Name
When was the debt incurred? 1/2012
205 W 4th St Ste 700
Cincinnati, OH 45202-2628
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I Debtor 1 only O contingent
D1 Debtor 2 only O Unliquidated
O Debtor 1 and Debtor 2 only oO Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is fora community C1 Student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D1 Debts to pension or profit-sharing plans, and other similar debts
O ves Mother, Specify Credit card
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 7

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Debtor1 Suchman, Ross G.

[4.17 Wakefield & Associates, Inc.

Nonpriority Creditor's Name

7005 Middlebrook Pike

Knoxville, TN 37909-1156
Number Street City State Zip Code

Who incurred the debt? Check one.

I debtor 1 only

O Debtor 2 only

D1 Debtor 1 and Debtor 2 only

D Atleast one of the debtors and another

O Check if this claim is for a community
debt

Is the claim subject to offset?

a No
0 Yes

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Case number (f known)

 

Last 4 digits of account number 8454 $250.00

When was the debt incurred? 12/2018

 

As of the date you file, the claim is: Check all that apply

O Contingent
O unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:
OD Student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

OO Debts to pension or profit-sharing plans, and other similar debts

Wl other. Specify Collection

 

 

List Others to Be Notified About a Debt That You Already Listed

5, Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts foreach
type of unsecured claim.

 

 

 

 

 

 

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. 6e. $ 0.00
Total Claim
6f. Student loans 6f. $ 25,985.00
Total claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 6g. $ 3
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
i . Add all oth iorit ecured claims. Write that amount 6i.
6i ae all other nonpriority unsecu i ul : 54,460.97
6). Total Nonpriority. Add lines 6f through 6i. 6j. $ 80,445.97

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Page 7 of 7
Case:19-16393-TBM Doc#:1 Filed:07/26/19 Entered:07/26/19 14:00:13 Page23 of 32

Fill in this information to identify your case:

 

 

 

Debtor 1 Ross G. Suchman

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) O Check if this is
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

an

12/15

information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Doyou have any executory contracts or unexpired leases?
(1 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

lf Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and

unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code
2.1 Crissy Sedillo Residential lease. No security deposit held.
6970 W Yale Ave

Denver, CO 80227-5736

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases
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Page 1 of 1

 
Case:19-16393-TBM Doc#:1 Filed:07/26/19 Entered:07/26/19 14:00:13 Page24 of 32

 

Fill in this information to identify your case:

 

 

Debtor 1 Ross G. Suchman

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) OO Check if this is an
amended filing

 

 

Official Form 106H
Schedule H: Your Codebtors 12115

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

BNo
0 Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Hf No. Go to line 3.
DO Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out

 

 

 

 

 

 

Column 2.
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Code Check all schedules that apply:
[3.1 O Schedule D, line
Neme CO Schedule E/F, line
C Schedule G, line
Number Street
City State ZIP Code
3.2 O Schedule D, line
Name OO Schedule E/F, line
OO Schedule G, line
Number Street
City State ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

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Case:19-16393-TBM Doc#:1 Filed:07/26/19 Entered:07/26/19 14:00:13 Page25 of 32

Fill in this information to identify your case:

Debtor 1 Ross G. Suchman

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number Check if this is:

(If known) O An amended filing

O A supplement showing postpetition chapter 13
income as of the following date:

Official Form 106] MM/DDIYYYY—
Schedule |: Your Income 12/15

 

 

 

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

 

 

 

GEREN Describe Employment
1. Fill in your employment
information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job, csaineneweniE Mi Employed CZ Employed
attach a separate page with ny Stary
information about additional C1 Not employed Oi Not employed
employers. _
pioye' Occupation Technician Il
Include part-time, seasonal, or '
self-employed work. Employer's name Redstone Aerospace
Occupation may include student or Employer's address 5449 Trade Centre Ave
homemaker, if it applies. L
ongmont, CO 80503-4625
How long employed there? 7 months
Give Details About Monthly Income

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
List monthly gross wages, salary, and commissions (before all payroll
2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. $3 3,868.00 § NIA
3. Estimate and list monthly overtime pay. 3. +5 0.00 +$ NIA
4. Calculate gross Income. Add line 2 + line 3. 4. | $ 3,868.00 $ N/A

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
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Debtor 1

10.

11.

12.

13.

Official Form 106!

5a.

5b.

5c
5d.
5e.
5f

5g

8a.

8b.
8c.

8d.
8e.
8f.

8g.
8h.

Specify:

For Debtor 1 For Debtor 2 or
hon-filing spouse
Copy line4here 4. §$ 3,868.00 NIA
List all payroll deductions:
Tax, Medicare, and Social Security deductions Sa. §$ 801.35 $ N/A
Mandatory contributions for retirement plans 5b. § 0.00 $ N/A
Voluntary contributions for retirement plans 5c. § 0.00 $ N/A
Required repayments of retirement fund loans 5d. $ 0.00 $ NIA
Insurance Se. $ 0.00 $ N/A
Domestic support obligations Sf. §$ 0.00 $ N/A
Union dues 5g. §$ 0.00 $ N/A
Other deductions. Specify: 5h.+ $ 0.00 $ N/A
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. $ 801.35 $ N/A
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 3,066.65 $ N/A
List all other income regularly received:
Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a $ 0.00 «§$ NIA
Interest and dividends 8b. §$ 0.00 §$ N/A
Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8c. § 0.00 §$ N/A
Unemployment compensation 8d. §$ 0.00 § NIA
Social Security 8e. § 0.00 §$ N/A
Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: Sf. §$ 0.00 $§ NIA
Pension or retirement income 8g. $ 0.00 $ NIA
Other monthly income. Specify: 8h.+ §$ 0.00 + $ N/A
Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h. 9. |$ 0.00] |$ NIA
Calculate monthly income. Add line 7 + line 9. 10.|$ 3,066.65 | +/$ N/A} =|$ 3,066.65
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
11. +S 0.00
Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12-| $ ___ 3,066.65 |
Combined

Do you expect an increase or decrease within the year after you file this form?

a
Oo

5h.

Suchman, Ross G.

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No.

 

 

 

monthly income

 

Yes. Explain: |

Schedule |: Your Income

page 2

 

 
Case:19-16393-TBM Doc#:1 Filed:07/26/19 Entered:07/26/19 14:00:13 Page27 of 32

Fill in this information to identify your case:

 

 

Debtor 1 Ross G. Suchman Check if this is:
Ol Anamended filing
Debtor 2 O Asupplement showing postpetition chapter 13
(Spouse, if filing) expenses as of the following date:
United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION MM/DD/YYYY

 

Case number
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12145

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

 

Describe Your Household
1. Is this ajoint case?

Hf No. Go to line 2.
0 Yes. Does Debtor 2 live in a separate household?

ONo
0 Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Householdof Debtor 2.

2. Doyouhave dependents? MH No

 

 

 

 

 

Do not list Debtor 1 and O ves. — Fill out this information for Dependent's relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
Se an
Do not state the CO No
dependents names. O Yes
ONo
0 Yes
ONo
0 Yes
OC No
O Yes
3. Do your expenses include HNo

expenses of people other than oO
yourself and your dependents? Yes
Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule /: Your Income
(Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage 667.00
payments and any rent for the ground or lot. 4. § :

If not included in line 4:

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renters insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner's association or condominium dues 4d. § 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. § 0.00

Official Form 106J Schedule J: Your Expenses page 1

 
Case:19-16393-TBM Doc#:1 Filed:07/26/19

Debtor1 Suchman, Ross G.

6.

oN

11,
12.

13.
14.
15.

16.

18.

19.

20.

21,

22.

23.

24.

Official Form 106J

Entered:07/26/19 14:00:13

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Utilities:

6a. Electricity, heat, natural gas 6a. $ 150.00
6b. Water, sewer, garbage collection 6b. $ 60.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 130.00
6d. Other. Specify: 6d. $ 0.00
Food and housekeeping supplies 7. $ 460.00
Childcare and children’s education costs 8. § 0.00
Clothing, laundry, and dry cleaning 9. §$ 0.00
Personal care products and services 10. $ 50.00
Medical and dental expenses 11. $ 0.00
Trans . Incl is, Maintenance, b r train fare.

Do papery ae a 12. $ 210.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 150.00
Charitable contributions and religious donations 14. $ 0.00
Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a. $ 0.00
15b. Health insurance 15b. $ 0.00
15c. Vehicle insurance 15c. $ 187.00
15d. Other insurance. Specify: 15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: car taxes 16. $ 20.00
Installment or lease payments:

17a. Car payments for Vehicle 1 17a. $ 376.00
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: 17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061). 18. $ 0.00
Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your Income.

20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter's insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
Other: Specify: Parking 21. +$ 10.00
Hair cuts +S 60.00
Calculate your monthly expenses

22a. Add lines 4 through 21. $ 2,530.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $

22c. Add line 22a and 22b. The result is your monthly expenses. $ 2,530.00
Calculate your monthly net income.

23a. Copy line 12(your combined monthly income) from Schedule |. 23a. $ 3,066.65
23b. Copy your monthly expenses from line 22c above. 23b. -$ 2,530.00
23c. Subtract your monthly expenses from your monthly income. 23. 1$ 536.65

The resultis your monthly net income.

 

 

 

Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

B No.

Page28 of 32

 

O Yes. [ Explain here:

Schedule J: Your Expenses

page 2

 
Case:19-16393-TBM Doc#:1 Filed:07/26/19 Entered:07/26/19 14:00:13 Page29 of 32

Fill in this information to identify your case:

Debtor 1 Ross G. Suchman
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

 

Case number
(if known) O Check if this is an
amended filing

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule AVB.................6c0 buvausuauseneesvsueeevseraueeesseesesesecaseesucneues ceeeeveneeenes $ 0.00
1b. Copy line 62, Total personal property, from Schedule AVB...............sesscceeesses sees tereeseeeeseseasaneaseneneenensaneasessancansesess $ 13,200.00
1c. Copy line 63, Total of all property on Schedule AUB... cceceeseececteesereseseeneeeneeeees ceseeuee episenameexeseneasereeteneennts en $ 13,200.00

ee

Summarize Your Liabilities

 

 

 

 

 

 

 

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column AAmount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 11,336.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e SOHIUS EHF vcsisciciscerescsaveccccvsces $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j @ichedule E/F..............cccce sz $ 80,445.97
Your total liabilities | $ 91,781.97
GEne Summarize Your Income and Expenses
4. Schedule |: Your Income(Official Form 1061) 66
Copy your combined monthly income from line 12 OBCHEdUIE |... ssc estes eeeeee teen teeteces tases sareizecineaanaasanaa $ 3,066.65
5. Schedule J: Your Expenses (Official Form 106J) 2 530.00
Copy your monthly expenses from line 22c Of Schedule U.....--.-s.-..cccsseeeenne ren neereneensenssnssesesansenennenes seta $ 1 :

[GENESEE Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

HM Yes
7. What kind of debt do you have?

mw Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C§ 159.

(1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Case:19-16393-TBM Doc#:1 Filed:07/26/19 Entered:07/26/19 14:00:13 Page30 of 32

Debtor1 Suchman, Ross G. Case number (if known)

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

 

 

 

 

 

 

 

 

122A-1 Line 11;OR, Form 122B Line 11;OR, Form 122C-1 Line 14. 3,868.00
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 25,985.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) $ 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. 25,985.00
;
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Case:19-16393-TBM Dec#:1

Tl

ited:07/26/19 Entered:07/26/19 14:00:13 Page31 of 32

TMU RUMI BCR Ue eel meio
Debtor 1 Ross G. Suchman

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF COLORADO, DENVER DIVISION

Case number
(if known) 1 Check if this is an

amended filing

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

gm No

O Yes. Name of person Attach Bankruptcy Petition Preparers Notice,
Declaration, and Signature (Official Form 119)

 

mmary and schedules filed with this declaration and

xX

 

 

Signature of Debtor 2

Signature of Debtor 1

Date July 17, 2019 Date

 

 
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Case:19-16393-TBM Doc#:1 Filed:07/26/19 Entered:07/26/19 14:00:13 Page32 of 32

United States Bankruptcy Court
District of Colorado, Denver Division

IN RE: Case No.

Suchman, Ross G. Chapter 7
Debtor(s)

VERIFICATION OF CREDITOR MATRIX
The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.

Date: July 17, 2019 soe 6 SE
‘Ross GSuchman Debtor

Date: Signature:

 

 

 

Joint Debtor, if any
